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 8                             UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 9
10    IN RE: FORD MOTOR CO. DPS6                          Lead Case No.: 2:18-ml-02814-AB (FFMx)
      POWERSHIFT TRANSMISSION
11    PRODUCTS LIABILITY                                  [Assigned to Hon. André Birotte Jr.
      LITIGATION                                          Courtroom 7B
12                                                        Magistrate Frederick F. Mumm
                                                          Courtroom 580]
13    THIS DOCUMENT RELATES ONLY
      TO:
14
      CLARENE BANKS, et al. vs. FORD                      Transfer Order from USJPML: 02/06/18
15    MOTOR COMPANY
      2:18-cv-01288-AB-FFMx
16
17
                                           ORDER OF DISMISSAL
18
19           On the date indicated below came on to be considered the Joint Stipulation of Dismissal by and

20    between Plaintiffs and Defendant.
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                                            ORDER OF DISMISSAL
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     Case 2:18-cv-01288-AB-FFM Document 31 Filed 12/30/20 Page 2 of 2 Page ID #:484




             It is, THEREFORE, ORDERED by the Court that pursuant to the stipulation filed by Plaintiffs
 1
 2    Clarene Banks, Dora Bell, Brandy Benavides, Monica Castro, Raymond Childs, Cynthia Duran, Neal

 3    Estes, Matthew Finamore, Michael Floerke, Jose Gonzalez, Josie Hollowell, Ashley Johnson, Lloyd
 4
      Lister, Jr., Soledad Monjarez, Zachary Pemberton, Dolores B. Ramos, Mike Reneau, Clayton Walley,
 5
      and Kandis Tippettand Defendant Ford Motor Company, Plaintiffs’ claims against Defendant Ford
 6
 7    Motor Company are hereby dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(1), with each

 8    party to bear their own fees and costs.
 9           SIGNED: December 30, 2020.
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12                                                 UNITED STATES DISTRICT JUDGE
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                                                ORDER OF DISMISSAL
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